We are of the opinion that the first sentence of section 5 of the act of May 4, 1917 (Stats. 1917, p. 221), providing that "any person who attempts to use, or who with intent to use the same unlawfully against another, carries or possesses," etc., the weapon described, is a valid exercise of legislative power, and that none of the objections urged to the validity of the act is good in so far at least as this provision is concerned. This is the provision under which petitioner is charged by the indictment. The question of the invalidity of the second sentence of section 5, the sentence as to the effect of certain facts as presumptive evidence, cannot be considered on this application for a writ of habeas corpus. If this provision be invalid, its invalidity does not render void the provision first referred to.
The application for a writ of habeas corpus is denied. *Page 84 